

People v Germinario (2025 NY Slip Op 01946)





People v Germinario


2025 NY Slip Op 01946


Decided on April 2, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
ANGELA G. IANNACCI
LILLIAN WAN
DONNA-MARIE E. GOLIA, JJ.


2023-05358
 (Ind. No. 72367/22)

[*1]The People of the State of New York, respondent,
vKira Germinario, appellant.


Patricia Pazner, New York, NY (Joshua M. Levine of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill and Nancy Fitzpatrick Talcott of counsel; Brendan Ransom on the brief), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Queens County (Michael J. Yavinsky, J.), rendered May 10, 2023, convicting her of robbery in the third degree, upon her plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
Contrary to the defendant's contention, the record demonstrates that she knowingly, voluntarily, and intelligently waived her right to appeal (see People v Lopez, 6 NY3d 248, 256; People v Poncedeleon, _____ AD3d _____, 2025 NY Slip Op 00675). The defendant's valid waiver of her right to appeal precludes appellate review of her contentions that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255-256; People v Lowe, 216 AD3d 670, 671) and that the mandatory surcharge and fees imposed at sentencing should be waived pursuant to CPL 420.35(2-a) (see People v Malary, 213 AD3d 774, 775; People v Martinez, 210 AD3d 1008, 1008).
Accordingly, we affirm the judgment.
BARROS, J.P., IANNACCI, WAN and GOLIA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








